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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                                   ENTERED
                                                                                                                        08/03/2020
                                                               )
    In re:                                                     )   Chapter 11
                                                               )
    COVIA HOLDINGS CORPORATION,                                )   Case No. 20-33295 (DRJ)
    et al.,1                                                   )
                                                               )
                               Debtors.                        )   (Jointly Administered)
                                                               )   Re: Docket No. 125

                  ORDER AUTHORIZING THE RETENTION
             AND EMPLOYMENT OF KIRKLAND & ELLIS LLP AND
         KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR
    THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF JUNE 29, 2020

             Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for the entry of an order (the “Order”) authorizing the

Debtors to retain and employ Kirkland & Ellis LLP and Kirkland & Ellis International LLP

(collectively, “Kirkland”) as their attorneys effective as of the Petition Date, pursuant to sections

327(a) and 330 of title 11 of the United States Code (the “Bankruptcy Code”), rules 2014(a) and

2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1

and 2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”); and the Court having reviewed the Application, the Declaration of Jonathan S.

Henes, the president of Jonathan S. Henes, P.C., a partner of Kirkland & Ellis LLP, and a partner

of Kirkland & Ellis International LLP (the “Henes Declaration”), and the declaration of Chadwick


1     Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
      noticing agent at http://cases.primeclerk.com/Covia. The location of Debtor Covia Holdings Corporation’s
      principal place of business and the Debtors’ service address is: 3 Summit Park Drive, Suite 700, Independence,
      Ohio 44131.
2     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
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P. Reynolds, Executive Vice President, Chief Legal Officer, and Secretary of Covia Holdings

Corporation (the “Reynolds Declaration”); and the Court having found that the Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and the Court having found that the

Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found

that venue of this proceeding and the Application in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and the Court having found based on the representations made in the

Application and in the Henes Declaration that (a) Kirkland does not hold or represent an interest

adverse to the Debtors’ estates and (b) Kirkland is a “disinterested person” as defined in section

101(14) of the Bankruptcy Code and as required by section 327(a) of the Bankruptcy Code; and

the Court having found that the relief requested in the Application is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and the Court having found that the

Debtors provided adequate and appropriate notice of the Application under the circumstances and

that no other or further notice is required; and the Court having reviewed the Application and

having heard statements in support of the Application at a hearing held before the Court

(the “Hearing”); and the Court having determined that the legal and factual bases set forth in the

Application and at the Hearing establish just cause for the relief granted herein; and any objections

to the relief requested herein having been withdrawn or overruled on the merits; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted to the extent set forth herein.

       2.      The Debtors are authorized to retain and employ Kirkland as their attorneys

effective as of the Petition Date in accordance with the terms and conditions set forth in the

Application and in the Engagement Letter attached hereto as Exhibit 1, as modified herein.




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       3.      Kirkland is authorized to provide the Debtors with the professional services as

described in the Application and the Engagement Letter. Specifically, but without limitation,

Kirkland will render the following legal services:

               a.     advising the Debtors with respect to their powers and duties as debtors in
                      possession in the continued management and operation of their businesses
                      and properties;

               b.     advising and consulting on their conduct during these chapter 11 cases,
                      including all of the legal and administrative requirements of operating in
                      chapter 11;

               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;

               j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                      and obtain approval of a disclosure statement and confirmation of a chapter
                      11 plan and all documents related thereto; and

               k.     performing all other necessary legal services for the Debtors in connection
                      with the prosecution of these chapter 11 cases, including: (i) analyzing the
                      Debtors’ leases and contracts and the assumption and assignment or
                      rejection thereof; (ii) analyzing the validity of liens against the Debtors; and
                      (iii) advising the Debtors on corporate and litigation matters.



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          4.    Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Bankruptcy Local Rules, and any other applicable procedures and orders of the

Court. Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s

requests for information and additional disclosures as set forth in the Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013, both in connection with

the Application and the interim and final fee applications to be filed by Kirkland in these chapter

11 cases.

          5.    Kirkland is authorized without further order of the Court to apply amounts from the

prepetition advance payment retainer to compensate and reimburse Kirkland for fees or expenses

incurred on or prior to the Petition Date consistent with its ordinary course billing practice. At the

conclusion of Kirkland’s engagement by the Debtors, if the amount of any advance payment

retainer held by Kirkland is in excess of the amount of Kirkland’s outstanding and estimated fees,

expenses, and costs, Kirkland will pay to the Debtors the amount by which any advance payment

retainer exceeds such fees, expenses, and costs, in each case in accordance with the Engagement

Letter.

          6.    Notwithstanding anything to the contrary in the Application, the Engagement

Letter, or the Declarations attached to the Application, the reimbursement provisions allowing the

reimbursement of fees and expenses incurred in connection with participating in, preparing for, or

responding to any action, claim, suit, or proceeding brought by or against any party that relates to

the legal services provided under the Engagement Letter and fees for defending any objection to


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Kirkland’s fee applications under the Bankruptcy Code are not approved pending further order of

the Court.

       7.      Notwithstanding anything to the contrary in the Application, the Engagement

Letter, or the Declarations attached in the Applications, the “Client Waiver” of the right to object

to fees and expenses once paid is not effective while the Client is a debtor-in-possession. The

Client Waiver shall not be construed to limit, restrict, or impair, while Client is a debtor-in-

possession, Client’s responsibility to protect and conserve estate assets by reviewing and objecting

to the allowance of professional fees in accordance with 11 U.S.C. §§ 330, 331, and 1106(a)(1)

(incorporating sections 704(a)(5) and 704(a)(2)).

       8.      Kirkland shall not charge a markup to the Debtors with respect to fees billed by

contract attorneys who are hired by Kirkland to provide services to the Debtors and shall ensure

that any such contract attorneys are subject to conflict checks and disclosures in accordance with

the requirements of the Bankruptcy Code and Bankruptcy Rules.

       9.      Kirkland shall provide ten-business-days’ notice to the Debtors, the U.S. Trustee,

and any official committee before any increases in the rates set forth in the Application or the

Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

retains all rights to object to any rate increase on all grounds, including the reasonableness standard

set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to section 330 of the Bankruptcy Code.

       10.     The Debtors and Kirkland are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.




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       11.     Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Bankruptcy Local Rules are satisfied by

the contents of the Application.

       12.     To the extent the Application, the Henes Declaration, the Reynolds Declaration, or

the Engagement Letter is inconsistent with this Order, the terms of this Order shall govern.

       13.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       14.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

 Dated: __________,
     Signed: August 2020
                    03, 2020.
 Houston, Texas                                       DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE
                                                     ____________________________________
                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT 1

                        Engagement Letter
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                                                                 601 Lexington Avenue
                                                                  New York, NY 10022
        Jonathan S. Henes, P.C.                                      United States
         To Call Writer Directly:                                                                                                    Facsimile:
           +1 212 446 4927                                            +1 212 446 4800                                             +1 212 446 4900
     jonathan.henes@kirkland.com
                                                                      www.kirkland.com




                                                                  March 25, 2020

          Chad Reynolds
          3 Summit Park Drive
          Suite 700
          Independence, OH 44131

                              Re:        Retention to Provide Legal Services

          Dear Mr. Reynolds,

                  We are very pleased that you have asked us to represent Covia Holdings Corporation and
          only those wholly or partially owned subsidiaries listed in an addendum or supplement to this letter
          (collectively, “Client”) in connection with a potential restructuring. Please note, the Firm’s
          representation is only of Client; the Firm does not and will not represent any direct or indirect
          shareholder, director, officer, partner, employee, affiliate, or joint venturer of Client or of any other
          entity.

                  General Terms. This retention letter (this “Agreement”) sets forth the terms of Client’s
          retention of Kirkland & Ellis LLP (and its affiliated entity Kirkland & Ellis International LLP
          (collectively, the “Firm”)) to provide legal services and constitutes an agreement between the Firm
          and Client (the “Parties”). This Agreement sets forth the Parties’ entire agreement for rendering
          professional services for the current matter, as well as for all other existing or future matters
          (collectively, the “Engagement”), except where the Parties otherwise agree in writing.

                  Fees. The Firm will bill Client for fees incurred at its regular hourly rates and in increments
          of one-tenth of an hour (or in smaller time increments as otherwise required by a court). The Firm
          reserves the right to adjust the Firm’s billing rates from time to time in the ordinary course of the
          Firm’s representation of Client.

                 Although the Firm will attempt to estimate fees to assist Client in Client’s planning if
          requested, such estimates are subject to change and are not binding unless otherwise expressly and
          unequivocally stated in writing.

                 Expenses. Expenses related to providing services shall be included in the Firm’s
          statements as disbursements advanced by the Firm on Client’s behalf. Such expenses include


Beijing    Boston   Chicago   Dallas   Hong Kong   Houston   London    Los Angeles   Munich   Palo Alto   Paris   San Francisco    Shanghai   Washington, D.C.
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photocopying, printing, witness fees, travel expenses, filing and recording fees, certain secretarial
overtime, and other overtime expenses, postage, express mail, and messenger charges, deposition
costs, and other computer services, and miscellaneous other charges. Client shall pay directly (and
is solely responsible for) certain larger costs, such as consultant or expert witness fees and
expenses, and outside suppliers’ or contractors’ charges, unless otherwise agreed by the Parties.
By executing this Agreement below, Client agrees to pay for all charges in accordance with the
Firm’s schedule of charges, a copy of which is attached hereto at Schedule 1, as revised from time
to time.

        Billing Procedures. The Firm’s statements of fees and expenses are typically delivered
monthly, but the Firm reserves the right to alter the timing of delivering its statements depending
on circumstances. Client may have the statement in any reasonable format it chooses, but the Firm
will select an initial format for the statement unless Client otherwise requests in writing.
Depending on the circumstances, however, estimated or summary statements may be provided,
with time and expense details to follow thereafter.

        Retainer. Client agrees to provide to the Firm an “advance payment retainer,” as defined
in Rule 1.15(c) of the Illinois Rules of Professional Conduct, Dowling v. Chicago Options Assoc.,
Inc., 875 N.E.2d 1012, 1018 (Ill. 2007), and In re Caesars Entm’t Operating Co., Inc.,
No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited therein), in the amount of
$2,000,000. In addition, Client agrees to provide one or more additional advance payment
retainers upon request by the Firm so that the amount of any advance payment retainers remains
at or above the Firm’s estimated fees and expenses. The Firm may apply the advance payment
retainers to any outstanding fees as services are rendered and to expenses as they are incurred.
Client understands and acknowledges that any advance payment retainers are earned by the Firm
upon receipt, any advance payment retainers become the property of the Firm upon receipt, Client
no longer has a property interest in any advance payment retainers upon the Firm’s receipt, any
advance payment retainers will be placed in the Firm’s general account and will not be held in a
client trust account, and Client will not earn any interest on any advance payment retainers;
provided, however, that solely to the extent required under applicable law, at the conclusion of the
Engagement, if the amount of any advance payment retainers held by the Firm is in excess of the
amount of the Firm’s outstanding and estimated fees, expenses, and costs, the Firm will pay to
Client the amount by which any advance payment retainers exceed such fees, expenses, and
costs. Client further understands and acknowledges that the use of advance payment retainers is
an integral condition of the Engagement, and is necessary to ensure that: Client continues to have
access to the Firm’s services; the Firm is compensated for its representation of Client; the Firm is
not a pre-petition creditor in the event of a Restructuring Case; and that in light of the foregoing,
the provision of the advance payment retainers is in Client’s best interests. The fact that Client
has provided the Firm with an advance payment retainer does not affect Client’s right to terminate
the client-lawyer relationship.
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        Please be advised that there is another type of retainer known as a “security retainer,” as
defined in Dowling v. Chicago Options Assoc., 875 N.E.2d at 1018, and In re Caesars Entm’t
Operating Co., Inc., No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited
therein). A security retainer remains the property of the client until the lawyer applies it to charges
for services that are actually rendered and expenses that are incurred. Any unearned funds are then
returned to the client. In other circumstances not present here, the Firm would consider a security
retainer and Client’s funds would be held in the Firm’s segregated client trust account until applied
to pay fees and expenses. Funds in a security retainer, however, can be subject to claims of Client’s
creditors and, if taken by creditors, may leave Client unable to pay for ongoing legal services,
which may result in the Firm being unable to continue the Engagement. Moreover, a security
retainer creates clawback risks for the Firm in the event of an insolvency proceeding. The choice
of the type of retainer to be used is Client’s choice alone, but for the Engagement and for the
reasons set forth above, the Firm is unwilling to represent Client in the Engagement without using
the advance payment retainer.

        Termination. The Engagement may be terminated by either Party at any time by written
notice by or to Client. The Engagement will end at the earliest of (a) Client’s termination of the
Engagement, (b) the Firm’s withdrawal, and (c) the substantial completion of the Firm’s
substantive work. If permission for withdrawal is required by a court, the Firm shall apply
promptly for such permission, and termination shall coincide with the court order for withdrawal.
If this Agreement or the Firm’s services are terminated for any reason, such termination shall be
effective only to terminate the Firm’s services prospectively and all the other terms of this
Agreement shall survive any such termination.

        Upon cessation of the Firm’s active involvement in a particular matter (even if the Firm
continues active involvement in other matters on Client’s behalf), the Firm will have no further
duty to inform Client of future developments or changes in law as may be relevant to such matter.
Further, unless the Parties mutually agree in writing to the contrary, the Firm will have no
obligation to monitor renewal or notice dates or similar deadlines that may arise from the matters
for which the Firm had been retained.

        Cell Phone and E-Mail Communication. The Firm hereby informs Client and Client
hereby acknowledges that the Firm’s attorneys sometimes communicate with their clients and their
clients’ professionals and agents by cell telephone, that such communications are capable of being
intercepted by others and therefore may be deemed no longer protected by the attorney-client
privilege, and that Client must inform the Firm if Client does not wish the Firm to discuss
privileged matters on cell telephones with Client or Client’s professionals or agents.

      The Firm hereby informs Client and Client hereby acknowledges that the Firm’s attorneys
sometimes communicate with their clients and their clients’ professionals and agents by
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unencrypted e-mail, that such communications are capable of being intercepted by others and
therefore may be deemed no longer protected by the attorney-client privilege, and that Client must
inform the Firm if Client wishes to institute a system to encode all e-mail between the Firm and
Client or Client’s professionals or agents.

        File Retention. All records and files will be retained and disposed of in compliance with
the Firm’s policy in effect from time to time. Subject to future changes, it is the Firm’s current
policy generally not to retain records relating to a matter for more than five years. Upon Client’s
prior written request, the Firm will return client records that are Client’s property to Client prior
to their destruction. It is not administratively feasible for the Firm to advise Client of the closing
of a matter or the disposal of records. The Firm recommends, therefore, that Client maintain
Client’s own files for reference or submit a written request for Client’s client files promptly upon
conclusion of a matter. Notwithstanding anything to the contrary herein, Client acknowledges and
agrees that any applicable privilege of Client (including any attorney-client and work product
privilege or any duty of confidentiality) (collectively, the “Privileges”) belongs to Client alone and
not to any successor entity (including without limitation the Client after a change in control or
other similar restructuring or non-restructuring transaction (including without limitation a
reorganized Client after the effective date of a plan of reorganization), whether through merger,
asset or equity sale, business combination, or otherwise, irrespective of whether such transaction
occurs in a Restructuring Case or on an out-of-court basis (in each case, a “Transaction”)). Client
hereby waives any right, title, and interest of such successor entity to all information, data,
documents, or communications in any format covered by the Privileges that is in the possession of
the Firm (“Firm Materials”), to the extent that such successor entity had any right, title, and interest
to such Firm Materials. For the avoidance of doubt, Client agrees and acknowledges that after a
Transaction, such successor entity shall have no right to claim or waive the Privileges or request
the return of any such Firm Materials; instead, such Firm Materials shall remain in the Firm’s sole
possession and control for its exclusive use, and the Firm will (a) not waive any Privileges or
disclose the Firm Materials, (b) take all reasonable steps to ensure that the Privileges survive and
remain in full force and effect, and (c) assert the Privileges to prevent disclosure of any Firm
Materials.

       Data Protection. You further agree that, if you provide us with personal data, you have
complied with applicable data protection legislation and that we may process such personal data
in accordance with our Data Transfer and Privacy Policy at www.kirkland.com. We process your
personal data in order to (i) carry out work for you; (ii) share the data with third parties such as
expert witnesses and other professional advisers if our work requires; (iii) comply with applicable
laws and regulations and (iv) provide you with information relating to our Firm and its services.
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        Conflicts of Interest. As is customary for a law firm of the Firm’s size, there are numerous
business entities, with which Client currently has relationships, that the Firm has represented or
currently represents in matters unrelated to Client.

        Further, in undertaking the representation of Client, the Firm wants to be fair not only to
Client’s interests but also to those of the Firm’s other clients. Because Client is engaged in
activities (and may in the future engage in additional activities) in which its interests may diverge
from those of the Firm’s other clients, the possibility exists that one of the Firm’s current or future
clients may take positions adverse to Client (including litigation or other dispute resolution
mechanisms) in a matter in which such other client may have retained the Firm or one of Client’s
adversaries may retain the Firm in a matter adverse to another entity or person.

        In the event a present conflict of interest exists between Client and the Firm’s other clients
or in the event one arises in the future, Client agrees to waive any such conflict of interest or other
objection that would preclude the Firm’s representation of another client (a) in other current or
future matters substantially unrelated to the Engagement or (b) other than during a Restructuring
Case (as defined below), in other matters related to Client (such representation an “Allowed
Adverse Representation”). By way of example, such Allowed Adverse Representations might take
the form of, among other contexts: litigation (including arbitration, mediation and other forms of
dispute resolution); transactional work (including consensual and non-consensual merger,
acquisition, and takeover situations, financings, and commercial agreements); counseling
(including advising direct adversaries and competitors); and restructuring (including bankruptcy,
insolvency, financial distress, recapitalization, equity and debt workouts, and other transactions or
adversarial adjudicative proceedings related to any of the foregoing and similar matters).

         Notwithstanding the above, except for restructuring matters (as defined below), K&E LLP
agrees, during the time when it is representing you, not to represent another person or entity in any
litigation, arbitration or similar proceeding in which you are a party and such other person or entity
is adverse to you without first obtaining a waiver from you. As used herein, "restructuring matters"
means matters: (a) arising in, arising under, or relating to Title 11 of the United States Code 11
U.S.C. §§ 101 et seq. (or analogous state or foreign statute); (b) concerning a financing,
refinancing, recapitalization, restructuring, or out-of-court workout of equity or debt or any
merger, sale, acquisition, or other transaction in connection with any of the foregoing; (c) involving
companies potentially in financial distress; and (d) involving litigation related to any of the
foregoing.

        Client also agrees that it will not, for itself or any other entity or person, assert that either
(i) the Firm’s representation of Client or any of Client’s affiliates in any past, present, or future
matter or (ii) the Firm’s actual or possible possession of confidential information belonging to
Client or any of Client’s affiliates is a basis to disqualify the Firm from representing another entity
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or person in any Allowed Adverse Representation. Client further agrees that any Allowed Adverse
Representation does not breach any duty that the Firm owes to Client or any of Client’s affiliates.
Client also agrees that the Firm’s representation in the Engagement is solely of Client and that no
member or other entity or person related to it (such as a shareholder, parent, subsidiary, affiliate,
director, officer, partner, employee, or joint venturer) has the status of a client for conflict of
interest purposes.

        In addition, if a waiver of a conflict of interest necessary to allow the Firm to represent
another client in a matter that is not substantially related to the Engagement is not effective for any
reason, Client agrees that the Firm may withdraw from the Engagement. Should that occur, Client
will not, for itself or any other entity or person, seek to preclude such termination of services or
assert that either (a) the Firm’s representation of Client or any of Client’s affiliates in any past,
present, or future matter or (b) the Firm’s actual or possible possession of confidential information
belonging to Client or any of Client’s affiliates is a basis to disqualify the Firm from representing
such other client or acting on such adverse matter.

       It is important that you review this letter carefully and consider all of the advantages and
disadvantages of waiving certain conflicts of interests that would otherwise bar the Firm from
representing parties with interests adverse to you during the time in which the Firm is representing
you. You also understand that because this waiver includes future issues and future clients that
are unknown and unknowable at this time, it is impossible to provide you with any more details
about those prospective clients and matters. Thus, in choosing to execute this waiver, you have
recognized the inherent uncertainty about the array of potential matters and clients the Firm might
take on in matters that are adverse to you but have nonetheless decided it is in your interest to
waive conflicts of interest regarding the Allowed Adverse Representations and waive rights to
prohibit the Firm’s potential withdrawal should a conflict waiver prove ineffectual.

        The Firm informs Client that certain entities owned by current or former Firm attorneys
and senior staff (“attorney investment entities”) have investments in funds or companies that may,
directly or indirectly, be affiliated with Client, hold investments in Client’s debt or equity
securities, may be adverse to Client, or conduct commercial transactions with Client (each, a
“Passive Holding”). The attorney investment entities are passive and have no management or
other control rights in such funds or companies. The Firm notes that other persons may in the
future assert that a Passive Holding creates, in certain circumstances, a conflict between the Firm’s
exercise of its independent professional judgment in rendering advice to Client and the financial
interest of Firm attorneys participating in the attorney investment entities, and such other persons
might seek to limit Client’s ability to use the Firm to advise Client on a particular matter. While
the Firm cannot control what a person might assert or seek, the Firm believes that the Firm’s
judgment will not be compromised by virtue of any Passive Holding. Please let us know if Client
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has any questions or concerns regarding the Passive Holdings. By executing this letter, Client
acknowledges the Firm’s disclosure of the foregoing.

        Restructuring Cases. If it becomes necessary for Client to commence a restructuring case
under chapter 11 of the U.S. Bankruptcy Code (a “Restructuring Case”), the Firm’s ongoing
employment by Client will be subject to the approval of the court with jurisdiction over the
petition. If necessary, the Firm will take steps necessary to prepare the disclosure materials
required in connection with the Firm’s retention as lead restructuring counsel. In the near term,
the Firm will begin conflicts checks on potentially interested parties as provided by Client.

        If necessary, the Firm will prepare a preliminary draft of a schedule describing the Firm’s
relationships with certain interested parties (the “Disclosure Schedule”). The Firm will give Client
a draft of the Disclosure Schedule once it is available. Although the Firm believes that these
relationships do not constitute actual conflicts of interest, these relationships must be described
and disclosed in Client’s application to the court to retain the Firm.

        If in the Firm’s determination a conflict of interest arises in Client’s Restructuring Case
requiring separate conflicts counsel, then Client will be required to use separate conflicts counsel
in those matters.

        No Guarantee of Success. It is impossible to provide any promise or guarantee about the
outcome of Client’s matters. Nothing in this Agreement or any statement by Firm staff or attorneys
constitutes a promise or guarantee. Any comments about the outcome of Client’s matter are simply
expressions of judgment and are not binding on the Firm.

        Consent to Use of Information. In connection with future materials that, for marketing
purposes, describe facets of the Firm’s law practice and recite examples of matters the Firm
handles on behalf of clients, Client agrees that, if those materials avoid disclosing Client’s
confidences and secrets as defined by applicable ethical rules, they may, with the Client’s prior
written consent, identify Client as a client, may contain factual synopses of Client’s matters, and
may indicate generally the results achieved.

         Reimbursement of Fees and Expenses. Client agrees to promptly reimburse the Firm for
all internal or external fees and expenses, including the amount of the Firm’s attorney and paralegal
time at normal billing rates, as incurred by the Firm in connection with participating in, preparing
for, or responding to any action, claim, objection, suit, or proceeding brought by or against any
third-party that relates to the legal services provided by the Firm under this Agreement. Without
limiting the scope of the foregoing, and by way of example only, this paragraph extends to all such
fees and expenses incurred by the Firm: in responding to document subpoenas, and preparing for
and testifying at depositions and trials; and with respect to the filing, preparation, prosecution or
defense of any applications by the Firm for approval of fees and expenses in a judicial, arbitral, or
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similar proceeding. Further, Client understands, acknowledges, and agrees that in connection with
a Restructuring Case, if Client has not objected to the payment of a Firm invoice or to a Firm fee
and expense application, has in fact paid such invoice, or has approved such fee and expense
application, then Client waives its right (and the right of any successor entity as a result of a
Transaction or otherwise) to subsequently object to the payment of fees and expenses covered by
such invoice or fee application.

         LLP. Kirkland & Ellis LLP is a limited liability partnership organized under the laws of
Illinois, and Kirkland & Ellis International LLP is a limited liability partnership organized under
the laws of Delaware. Pursuant to those statutory provisions, an obligation incurred by a limited
liability partnership, whether arising in tort, contract or otherwise, is solely the obligation of the
limited liability partnership, and partners are not personally liable, directly or indirectly, by way
of indemnification, contribution, assessment or otherwise, for such obligation solely by reason of
being or so acting as a partner.

       Governing Law. This Agreement shall be governed by, and construed in accordance with,
the laws of the State of Illinois, without giving effect to the conflicts of law principles thereof.

        Miscellaneous. This Agreement sets forth the Parties’ entire agreement for rendering
professional services. It can be amended or modified only in writing and not orally or by course
of conduct. Each Party signing below is jointly and severally responsible for all obligations due
to the Firm and represents that each has full authority to execute this Agreement so that it is
binding. This Agreement may be signed in one or more counterparts and binds each Party
countersigning below, whether or not any other proposed signatory ever executes it. If any
provision of this Agreement or the application thereof is held invalid or unenforceable, the
invalidity or unenforceability shall not affect other provisions or applications of this Agreement
which can be given effect without such provisions or application, and to this end the provisions of
this Agreement are declared to be severable. Any agreement or waiver contained herein by Client
extends to any assignee or successor in interest to Client, including without limitation the
reorganized Client upon and after the effective date of a plan of reorganization in a Restructuring
Case.

        This Agreement is the product of arm’s-length negotiations between sophisticated parties,
and Client acknowledges that it is experienced with respect to the retention of legal counsel.
Therefore, the Parties acknowledge and agree that any otherwise applicable rule of contract
construction or interpretation which provides that ambiguities shall be construed against the drafter
(and all similar rules of contract construction or interpretation) shall not apply to this Agreement.
The Parties further acknowledge that the Firm is not advising Client with respect to this Agreement
because the Firm would have a conflict of interest in doing so, and that Client has consulted (or
had the opportunity to consult) with legal counsel of its own choosing. Client further
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acknowledges that Client has entered into this Agreement and agreed to all of its terms and
conditions voluntarily and fully-informed, based on adequate information and Client’s own
independent judgment. The Parties further acknowledge that they intend for this Agreement to be
effective and fully enforceable upon its execution and to be relied upon by the Parties.

                                             ***
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       Please confirm your agreement with the arrangements described in this letter by signing
the enclosed copy of this letter in the space provided below and returning it to us. Please
understand that, if we do not receive a signed copy of this letter within twenty-one days, we will
withdraw from representing you in this Engagement.

                                                Very truly yours,

                                                KIRKLAND & ELLIS LLP

                                                By:
                                                      Printed Name: Jonathan Henes, P.C.
                                                      Title: Partner

        Agreed and accepted this ___ day of March, 2020

                                                COVIA HOLDINGS CORPORATION

                                                By:
                                                Name: Chad Reynolds
                                                Title: EVP, Chief Legal Officer & Secretary
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                             ADDENDUM: List of Client Subsidiaries



Covia Holdings Corporation                       Best Sand Corporation
Covia Specialty Minerals Inc.                    Best Sand of Pennsylvania, Inc.
Covia Financing LLC                              Cheyenne Sand Corp.
Covia Canada Ltd. Ontario                        Construction Aggregates Corporation of
Covia Finance Company LLC                        Michigan, Inc.
Grupo Materias Primas de Mexico S. de R.         Standard Sand Corporation
L. de C. V.                                      Specialty Sands, Inc.
Grupo Materias Primas S. de R. L. de C. V.       Lake Shore Sand Company (Ontario) Ltd.
Materias Primas Monterrey S. de R. L. de C. V.   Mineral Visions Inc.
Materias Primas Minerales de Ahuazotepec,        Covia Europe ApS
S. de R. L. de C. V.                             Wisconsin Industrial Sand Company L.L.C.
Servicios Integrales Lampazos S. de R. L. de     Wisconsin Specialty Sands, Inc.
C. V.                                            Alpha Resins, LLC
909273 Ontario Inc.                              Technimat LLC
Bison Merger Sub I, LLC                          Santrol (Yixing) Proppant Co. Ltd
FMSA Inc.                                        Wedron Silica Company
Fairmount Santrol Inc.                           Wexford Sand Co.
Fairmount Minerals Sales de Mexico, S. de        Fairmount Minerals, LLC
R. L. de C. V.                                   Black Lab LLC
Santrol de Mexico, S. de R. L. de C. V.          Self-Suspending Proppant LLC
Shakopee Sand LLC
FML Resin, LLC
FML Sand, LLC
West Texas Housing LLC
FML Terminal Logistics, LLC
Fairmount Logistics LLC
Technisand, Inc.
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                                         SCHEDULE 1

KIRKLAND & ELLIS LLP

CLIENT-REIMBURSABLE EXPENSES AND OTHER CHARGES

Effective 01/01/2020

The following outlines Kirkland & Ellis LLP’s (“K&E LLP”) policies and standard charges for
various services performed by K&E LLP and/or by other third parties on behalf of the client
which are often ancillary to our legal services. Services provided by in-house K&E LLP
personnel are for the convenience of our clients. Given that these services are often ancillary to
our legal services, in certain instances it may be appropriate and/or more cost efficient for these
services to be outsourced to a third-party vendor. If services are provided beyond those outlined
below, pricing will be based on K&E LLP’s approximate cost and/or comparable market pricing.

       •       Duplicating, Reprographics and Printing: The following list details K&E LLP’s
               charges for duplicating, reprographics and printing services:

                     Black and White Copy or Print (all sizes of paper):
                         • $0.16 per impression for all U.S. offices
                         • €0.10 per impression in Munich
                         • £0.15 per impression in London
                         • HK$1.50 per impression in Hong Kong
                         • RMB1.00 per impression in Beijing and Shanghai
                     Color Copy or Print (all sizes of paper):
                         • $0.55 per impression
                     Scanned Images:
                         • $0.00 per page for black and white or color scans
                     Other Services:
                         • CD/DVD Duplicating or Mastering - $7/$10 per CD/DVD
                         • Binding - $0.70 per binding
                         • Large or specialized binders - $13/$27
                         • Tabs - $0.13 per item
                         • OCR/File Conversion - $0.03 per page
                         • Large Format Printing - $1.00 per sq. ft.

       •       Secretarial and Word Processing: Clients are not charged for secretarial and
               word processing activities incurred on their matters during standard business hours.

       •       Overtime Charges: Clients will be charged for overtime costs for secretarial and
               document services work if either (i) the client has specifically requested the after-
               hours work or (ii) the nature of the work being done for the client necessitates out-
               of-hours overtime and such work could not have been done during normal working

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             hours. If these conditions are satisfied, costs for related overtime meals and
             transportation also will be charged.

      •      Travel Expenses: We charge clients our out-of-pocket costs for travel expenses
             including associated travel agency fees. We charge coach fares (business class for
             international flights) unless the client has approved business-class, first-class or an
             upgrade. K&E LLP personnel are instructed to incur only reasonable airfare, hotel
             and meal expenses. K&E LLP negotiates, uses, and passes along volume discount
             hotel and air rates whenever practicable. However, certain retrospective rebates
             may not be passed along.

      •      Catering Charges: Clients will be charged for any in-house catering service
             provided in connection with client matters.

      •      Communication Expenses: We do not charge clients for telephone calls or faxes
             made from K&E LLP’s offices with the exception of third-party conference calls
             and videoconferences.

             Charges incurred for conference calls, videoconferences, cellular telephones, and
             calls made from other third-party locations will be charged to the client at the
             actual cost incurred. Further, other telecommunication expenses incurred at third-
             party locations (e.g., phone lines at trial sites, Internet access, etc.) will be charged
             to the client at the actual cost incurred.

      •      Overnight Delivery/Postage: We charge clients for the actual cost of overnight
             and special delivery (e.g., Express Mail, FedEx, and DHL), and U.S. postage for
             materials mailed on the client’s behalf. K&E LLP negotiates, uses, and passes
             along volume discount rates whenever practicable.

      •      Messengers:     We charge clients for the actual cost of a third party vendor
             messenger.

      •      Library Research Services: Library Research staff provides research and
             document retrieval services at the request of attorneys, and clients are charged per
             hour for these services. Any expenses incurred in connection with the request, such
             as outside retrieval service or online research charges, are passed on to the client at
             cost, including any applicable discounts.

      •      Online Research Charges: K&E LLP will not charge for costs incurred in using
             third-party online research services in connection with a client matter.

      •      Inter-Library Loan Services: Our standard client charge for inter-library loan
             services when a K&E LLP library employee borrows a book from an outside source
             is $25 per title. There is no client charge for borrowing books from K&E LLP


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              libraries in other cities or from outside collections when the title is part of the K&E
              LLP collection but unavailable.

       •      Off-Site Legal Files Storage: Clients are not charged for off-site storage of files
              unless the storage charge is approved in advance.

       •      Electronic Data Storage: K&E LLP will not charge clients for costs to store
              electronic data and files on K&E LLP’s systems if the data stored does not exceed
              100 gigabytes (GB). If the data stored for a specific client exceeds 100GB, K&E
              LLP will charge clients $4.00 per month/per GB for all network data stored until
              the data is either returned to the client or properly disposed of. For e-discovery data
              on the Relativity platform, K&E LLP will also charge clients $4.00 per month/per
              GB until the data is either returned to the client or properly disposed of.

       •      Calendar Court Services: Our standard charge is $25 for a court filing and other
              court services or transactions.

       •      Supplies: There is no client charge for standard office supplies. Clients are
              charged for special items (e.g., a minute book, exhibit tabs/indexes/dividers,
              binding, etc.) and then at K&E LLP’s actual cost.

       •      Contract Attorneys and Contract Non-Attorney Billers: If there is a need to
              utilize a contract attorney or contract non-attorney on a client engagement, clients
              will be charged a standard hourly rate for these billers unless other specific billing
              arrangements are agreed between K&E LLP and client.

       •      Expert Witnesses, Experts of Other Types, and Other Third Party
              Consultants: If there is a need to utilize an expert witness, expert of other type, or
              other third party consultant such as accountants, investment bankers, academicians,
              other attorneys, etc. on a client engagement, clients will be requested to retain or
              pay these individuals directly unless specific billing arrangements are agreed
              between K&E LLP and client.

       •      Third Party Expenditures: Third party expenditures (e.g., corporate document
              and lien searches, lease of office space at Trial location, IT equipment rental, SEC
              and regulatory filings, etc.) incurred on behalf of a client, will be passed through to
              the client at actual cost. If the invoice exceeds $50,000, it is K&E LLP’s policy
              that wherever possible such charges will be directly billed to the client. In those
              circumstances where this is not possible, K&E LLP will seek reimbursement from
              our client prior to paying the vendor.

Unless otherwise noted, charges billed in foreign currencies are determined annually based on
current U.S. charges at an appropriate exchange rate.



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